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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

 JP Morgan Chase Bank, National Association,           )
                                                       )
                                      Plaintiff,       )
                                                       )
                            v.                         )   Case No. 1:19-CV-5770
                                                       )
 Robert Kowalski, a/k/a Robert M. Kowalski,            )   Judge Thomas M. Durkin
 Unknown Owners and Non-Record Claimants;              )
 Chicago Title Land Trust Company s/i/i to             )
 Bridgeview Bank Group f/k/a Bridgeview Bank           )
 and Trust Company, as trustee under trust             )
 agreement dated April 24, 1993 and known as           )
 Trust Number 1-2228, Martha Padilla, Federal          )
 Deposit Insurance Corporation, as receiver for        )
 Washington Federal Bank for Savings,                  )
                                                       )
                                    Defendants.        )

COUNTER-DEFENDANT MARTHA PADILLA’S RESPONSE TO FEDERAL DEPOSIT
     INSURANCE CORPORATION’S STATEMENT OF MATERIAL FACTS

       Counter-Defendant, Martha Padilla, by and through her attorneys, Ziccardi Law Offices,

pursuant to Rule 56 and 56.1(b) of the Local Rules of the United States District Court for the

Northern District of Illinois, and for her Response to the Federal Deposit Insurance

Corporation’s Statement of Material Facts in Support of its Motion for Summary Judgment,

hereby states as follows:

       1.      The property at 1512 W. Polk, Chicago, Illinois (“the Polk property”) was placed
               in a land trust at Bridgeview Bank & Trust Company, as trustee under trust no. 1-
               2228 (“Bridgeview Trust No. 1-2228”) on April 24, 1993 with Robert Kowalski
               (“Kowalski”) as sole beneficiary. (Padilla dep. pp. 19-20). Relevant pages of
               Padilla’s deposition are attached hereto as Exhibit A.

RESPONSE: Padilla admits the facts set forth in this paragraph 1.


       2.      Kowalski married Padilla on May 20, 1989. (Padilla dep. p.9)
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RESPONSE: Padilla admits the facts set forth in this paragraph 2.


       3.      Kowalski bought the Polk property for about $200,000 and built the house for
               another $225,000, wherein Kowalski and Padilla moved in either November 1995
               or 1996. (Padilla dep. pp. 15-16, 126)

RESPONSE: Padilla admits the facts set forth in this paragraph 3.


       4.      Padilla assumed that monies were borrowed to construct the house. (Padilla dep.
               p. 16)

RESPONSE: Padilla admits the facts set forth in this paragraph 4.


       5.      On September 5, 1997, the beneficial interest in Bridgeview Trust No. 1-2228
               was transferred to Kowalski and Padilla, as tenants by the entirety. (Padilla dep p.
               40)

RESPONSE: Padilla admits the facts set forth in this paragraph 5.


       6.      The transfer of the beneficial interest occurred because it was the personal
               residence and Padilla wanted to have an ownership interest in that residence.
               (Padilla dep. p. 40)

RESPONSE: Padilla admits the facts set forth in this paragraph 6.


       7.      When Padilla became a beneficiary of the land trust, she relied upon Kowalski’s
               statement to her that there were no liens against the real estate. (Padilla dep. pp.
               43, 44)

RESPONSE: Padilla admits the facts set forth in this paragraph 7.


       8.      On or about August 10, 1999, Robert Kowalski (“Kowalski”) executed a Note
               payable to Washington Federal Bank for Savings (“WFB”) in the original
               principal sum of $400,000 (“the Note”). (Woods afft. para. 5) The affidavit of
               Janina Woods is attached hereto as Exhibit B.

RESPONSE: Padilla admits that the FDIC has attached as Exhibit B the affidavit of Janina

Woods to its Statement of Facts, but denies that said affidavit is accurate as it is not based on the



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Affiant’s personal knowledge that Kowalski and/or Padilla actually executed documents as

therein asserted. Answering further, Padilla admits that what appears to be a promissory note

dated August 10, 1999 executed by Robert Kowalski is attached to Woods’ Affidavit, but denies

that Kowalski had the authority to unilaterally execute a promissory note secured by a mortgage

on the Polk Property.


       9.       The loan proceeds went to refinance a loan made by Bridgeview Bank & Trust
                Company to Bridgeview Trust No. 1-2228 and Kowalski for $395,000 on or about
                December 19, 1996, which note describes its collateral to be a mortgage on 1510
                W. Polk, an adjacent parcel that Kowalski bought, built a three-flat and sold.
                (Woods afft. para. 6; Padilla dep. p. 17)

RESPONSE: Padilla admits the facts set forth in this paragraph 9.


       10.      As collateral security for the Note, Bridgeview Trust No. 1-2228 executed and
                delivered to WFB a Mortgage dated August 10, 1999, encumbering the Polk
                Property, which was recorded on August 20, 1999 with the Cook County
                Recorder of Deeds as document no. 99797136 (“the Mortgage”), (Woods afft.
                para. 7)

RESPONSE: Padilla admits only that what purports to be a mortgage dated August 10, 1999

executed by Bridgeview Bank as trustee of Trust no. 1-2228 in favor of WFB was recorded

against the Property on August 20, 1999 with the recording number as alleged. Padilla denies

the validity of said mortgage based on the facts set forth in her Rule 56.1(d) Statement of Facts, ¶

5-8.


       11.      The Mortgage provides that “Borrower (Bridgeview Trust No. 1-2228) is lawfully
                seised of the estate hereby conveyed and has the right to mortgage, grant and
                convey the Property….” (Woods afft. para. 8)

RESPONSE: Padilla admits only that the Mortgage contained the quoted language. Padilla

denies the validity of said mortgage based on the facts set forth in her Rule 56.1(d) Statement of

Facts, ¶ 5-8.

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       12.     On or about July 28, 2000, Bridgeview Trust No. 1-2228 executed a Modification
               of Mortgage recorded with the Cook County Recorder as document no.
               00926448. (Woods afft. Para. 9)

RESPONSE: Padilla admits only that on or about July 28, 2000, Bridgeview Bank, as trustee,

executed a Modification of Mortgage which was recorded with the Cook County Recorder of

Deeds. Padilla denies the validity of said Modification of Mortgage based on the facts set forth

in her Rule 56.1(d) Statement of Facts, ¶ 5-8.


       13.     On or about August 1, 2000, Kowalski executed and delivered to WFB an
               Extension to Note, extending the maturity date to March 31, 2001. (Woods afft.
               para. 10)

RESPONSE: Padilla admits that what appears to be an Extension to Note dated August 1, 2000

executed by Robert Kowalski is attached to Woods’ Affidavit, but denies that Kowalski had the

authority to unilaterally execute a promissory note secured by a mortgage on the Polk Property.


       14.     On or about April 2, 2001, Kowalski executed and delivered to WFB an
               Extension to Note, extending the maturity date to April 2, 2002. (Woods afft.
               para. 11)

RESPONSE: Padilla admits that what appears to be an Extension to Note dated April 2, 2001

executed by Robert Kowalski is attached to Woods’ Affidavit, but denies that Kowalski had the

authority to unilaterally execute a promissory note secured by a mortgage on the Polk Property.


       15.     On or about May 31, 2001, Kowalski and Bridgeview Trust No. 1-2228 executed
               and delivered to WFB an Extension to Note, extending the maturity date to March
               31, 2003. (Woods afft. para. 12)

RESPONSE: Padilla admits that what appears to be an Extension to Note dated May 31, 2001

executed by Robert Kowalski and Bridgeview Bank as trustee is attached to Woods’ Affidavit,

but denies that Kowalski had the authority to unilaterally execute a promissory note secured by a



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mortgage on the Polk Property, and denies that Bridgeview Bank had authority to execute said

Extension to Note.


       16.    On or about March 31, 2003, Kowalski and Padilla executed and delivered to
              WFB an Extension to Note, extending the maturity date to November 1, 2004.
              (Woods afft. para. 13)

RESPONSE: Padilla denies the facts set forth in this paragraph 16.


       17.    On or about November 1, 2004, Kowalski and Padilla executed and delivered to
              WFB a Note Modification Agreement, extending the maturity date to October 1,
              2005 and advancing an additional $156,284.92, increasing the principal sum on
              the Note to $606,284.92. (Woods afft. para. 14)

RESPONSE: Padilla denies the facts set forth in this paragraph 17.


       18.    On or about November 1, 2004, Bridgeview Trust No. 1-2228 executed a
              Modification of Mortgage, which was recorded with the Cook County Recorder
              on February 1, 2005 as document no. 0503233116. (Woods afft. para. 15)

RESPONSE: Padilla admits that what appears to be a Modification of Mortgage dated

November 1, 2004 executed by Bridgeview Bank as trustee and recorded with the Cook County

Recorder of Deeds is attached to Woods’ Affidavit, but denies that denies that Bridgeview Bank

had authority to execute said Modification of Mortgage.


       19.    On or about October 1, 2005, Kowalski and Padilla executed and delivered to
              WFB an Extension to Note, extending the maturity date to January 1, 2008.
              (Woods afft. para. 16)

RESPONSE: Padilla denies the facts set forth in this paragraph 19.


       20.    On or about July 31, 2007, Kowalski and Padilla executed and delivered to WFB
              a Note Modification Agreement, advancing an additional $31,000 thereby
              increasing the principal sum on the note to $637,219.63 and extending the
              maturity date to September 30, 2008. (Woods afft. para. 17)

RESPONSE: Padilla denies the facts set forth in this paragraph 20.

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       21.     On or about July 31, 2007, Bridgeview Trust No. 1-2228 executed a Modification
               of Mortgage, which was recorded with the Cook County Recorder of Deeds on
               August 11, 2008 as document no. 091633206. (Woods afft. para. 18)

RESPONSE: Padilla admits that what appears to be a Modification of Mortgage dated July 31,

2007 executed by Bridgeview Bank as trustee and recorded with the Cook County Recorder of

Deeds is attached to Woods’ Affidavit, but denies that Bridgeview Bank had authority to execute

said Modification of Mortgage.


       22.     On or about January 1, 2008, Kowalski and Padilla executed and delivered to
               WFB an Extension to Note, extending the maturity date to January 1, 2012.
               (Woods afft. para. 19)

RESPONSE: Padilla denies the facts set forth in this paragraph 22.


       23.     On or about January 1, 2012, Kowalski and Padilla executed and delivered to
               WFB an Extension to Note, extending the maturity date to January 1, 2014.
               (Woods afft. para. 20)

RESPONSE: Padilla denies the facts set forth in this paragraph 23.


       24.     The Note and its modifications have now matured. (Woods afft. para. 21)

RESPONSE: Padilla admits that the maturity dates on the purported Note and its modification

have matured. Padilla denies the validity of said Note and its modifications based on the facts

set forth in her Rule 56.1(d) Statement of Facts, ¶ 5-8.


       25.     On December 15, 2017, the Federal Deposit insurance Corporation was
               appointed, and accepted, as Receiver of WFB. (Woods afft. para. 3)

RESPONSE: Padilla admits the facts set forth in this paragraph 25.


       26.     FDIC-R is the owner and holder of the Note and Mortgage and all modifications
               and extensions. (Woods afft. para. 22)



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RESPONSE: Padilla admits the facts set forth in this paragraph 26. Padilla denies the validity

of the Note and Mortgage, including all modifications and extensions, based on the facts set forth

in her Rule 56.1(d) Statement of Facts, ¶ 5-26.


       27.     There is due and owing as of November 2, 2021, the principal sum of
               $637,219.63, interest of $195,553.64, escrow for homeowners’ insurance of
               $20,559.19, late fees of $637.03 and advance for inspection/valuation fee of
               $564.00, for a total balance of $854,533.49, interest continues to accrue at the per
               diem rate of $193.66. (Woods afft. para. 23)

RESPONSE: Padilla denies the facts set forth in this paragraph 27.


       28.     The divorce judgment between Padilla and Kowalski was entered on December
               15, 2019 and Padilla was to take title to the Polk property. (Padilla dep pp. 9-10)

RESPONSE: Padilla admits the facts set forth in this paragraph 28.


       29.     Padilla’s claim that as a part of the fraudulent scheme that Kowalski did not
               submit, and WFB did not request, documentation from the land trust, is based on
               a lack of documents produced in discovery from the WFB loan file or by
               Bridgeview Trust No. 1-2228. (Padilla dep. p. 113)

RESPONSE: Padilla admits the facts set forth in this paragraph 29. Based on the facts set forth

in her Rule 56.1(d) Statement of Facts, ¶ 5-26, Padilla denies that her claim is solely based on the

lack of documentation from the FDIC and Bridgeview Bank.


       30.     Padilla’s defense that the note extensions and mortgage modifications were to
               conceal a non-performing loan is based on a lack of documents and an Inspector
               General report by the Department of Treasury that doesn’t mention the Polk
               property. (Padilla dep. pp. 114-115)

RESPONSE: Padilla admits the facts set forth in this paragraph 29. Based on the facts set forth

in her Rule 56.1(d) Statement of Facts, ¶ 5-26, Padilla denies that her claim is solely based on the

Inspector General report and lack of documentation from the FDIC and Bridgeview Bank.




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                                              Respectfully submitted,

                                              MARTHA PADILLA


                                        By:          s/ Joseph R. Ziccardi
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